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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §   CRIMINAL ACTION NO. C-12-418-2
                                              §
ALEJANDRO GARZA; aka GARZA                    §
ALEX


MEMORANDUM OPINION AND ORDER GRANTING DEFENDANT GARZA’S
   MOTION TO REOPEN DETENTION AND AFFIRMING ORDER OF
                DETENTION PENDING TRIAL


       An order of detention was entered in this case June 26, 2012, after defendant

Alejandro Garza was permitted a full opportunity to be heard and to present evidence,

testimony, and argument (D.E. 149). On July 9, 2012, defendant Garza moved to reopen

the issue of detention, contending that he had evidence pertinent to the detention issues

that was not available at the time of the June 26 hearing (D.E. 169).

       Title 18, United States Code, Section 3142(f) states that:

       . . . The hearing may be reopened, before or after a determination by the
       judicial officer, at any time before trial if the judicial officer finds that
       information exists that was not known to the movant at the time of the
       hearing and that has a material bearing on the issue of whether there are
       conditions of release that will reasonably assure the appearance of such
       person as required and the safety of any other person and the community.

18 U.S.C. § 3142(f). The government was opposed to reopening the hearing because

according to the United States, the proffered “new” evidence was available at the time of



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the original hearing. The government has correctly cited the law and the court is not

required to reopen the matter of detention. Nevertheless, because of the seriousness of

the allegations against the defendant, and the fact that the defendant is a United States

citizen who turned himself in to authorities and has no criminal history, the defendant

was permitted a second hearing to present additional evidence. The recording of the

original hearing held on June 26, 2012, was also reviewed prior to entry of this order.

       At the second hearing held on July 12, 2012, defendant Garza presented the

testimony of a business associate Lamar Strong. Mr. Strong testified that he had done

business, during the last fifteen years, with the defendant, who he understood was

working for AJ Steel Company, a subcontracting steel fabricator owned by the

defendant’s sister Elsa Ruiz. Defendant was even granted security clearance to work on

at least one sensitive construction project for the United States government. Defendant

earned income from this employment. Although Mr. Strong’s testimony clarified the

confusion about whether the defendant had legitimate employment with AJ Steel

Company, the new evidence created its own problems because the defendant failed to

report any income from AJ Steel Company in his 2007 to 2009 tax returns. The

defendant told Pretrial Services that he was an employee at AJ Steel, but during the

search warrant served on his home, agents found loan applications where defendant

claimed to be the owner of AJ Steel, and his sister only an employee.

       Moreover, Mr. Strong testified about the defendant’s travel to Mexico in 2011

connection with a business opportunity. At the original hearing there was evidence that

the defendant had lied to Pretrial Services about his travel to Mexico, and after hearing


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from Mr. Strong, it appears to be more likely that he intentionally withheld this

information from Pretrial Services rather than that he simply forgot about a trip across the

border.

       Defendant Garza also presented the testimony of a character witness and friend

Arnoldo Ochoa, who stated he believed Defendant would appear for future court

proceedings. Finally Garza argued that his compliance with his bond conditions in a

2010 Laredo case proved that he would make court appearances. The court was aware

of, and took into consideration at the original detention hearing, the defendant’s

compliance with his bond conditions in 2010.

       In short the new evidence does not rebut the findings from the first detention

hearing, nor does it address many of the issues that concerned the court. The defendant

now faces a ten-year minimum mandatory sentence if convicted. The scope of the drug

trafficking offenses against him has greatly expanded from a 2010 case involving a single

load of marihuana. Evidence not available at the time of the 2010 case includes

information that the defendant admitted he was working for one of the drug cartels in

Mexico, he traveled to Mexico on at least one occasion in the last year and lied about it,

the defendant had in his home at the time of his arrest firearms and ammunition which

would penetrate Kevlar vests, the defendant paid legal fees for some of his co-

conspirators in the past, the cooperating witnesses fear violent retaliatory acts by

defendant, and the defendant possessed in his home documents and notes related to a

large drug prosecution in the Beaumont Division. The defendant has not rebutted the

presumption of nonappearance and danger to the community.


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       Accordingly, the findings entered on June 26, 2012, are affirmed, and the motion

for release on bond (D.E. 169) is denied.

       ORDERED this 16th day of July, 2012.


                                            ___________________________________
                                            B. JANICE ELLINGTON
                                            UNITED STATES MAGISTRATE JUDGE




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